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 1                       DECLARATION OF JOANNE OSINOFF
 2         I, Joanne Osinoff, hereby declare and state:
 3         1.     I am employed as an Assistant United States Attorney and Chief of the
 4   General Civil Section, in the Civil Division of the United States Attorney’s Office for the
 5   Central District of California (“USAO”). My duties include supervision of the defense
 6   of civil actions against the United States, its agencies and officers.
 7         2.     I make this declaration based upon my personal knowledge of the facts and
 8   my review of official records of the USAO. If called to testify, I would and could do so.
 9         3.     I make this declaration in support of the Defendants’ Opposition to the
10   Plaintiff’s Application for TRO filed in Empyreal Enterprises d/b/a/ Empyreal Logistics
11   v. United States of America, et al., CV 22-0094 JWH (SHK).
12         4.     I learned of the filing of the complaint and application for temporary
13   Restraining Order (TRO) in Empyreal Enterprises, supra, on Friday, January 14, 2022 at
14   approximately 5:40 p.m. I did not personally receive any phone call or voicemail or
15   email from Plaintiff regarding the filing of the complaint and TRO. Plaintiff made no
16   attempt to provide notice to me or to engage in a meet and confer to discuss the claims or
17   possible resolution. My name and title are listed on the USAO public website.
18         5.     Plaintiff’s counsel emailed copies of the complaint, the application, two
19   declarations and proposed order to a general email box in the late afternoon on the
20   Friday before a long holiday weekend. I have access to this general email box, however,
21   I receive no computer notification or notification of any kind when an email is received
22   therein.
23         6.     Friday, January 14, 2022 is the Friday before Martin Luther King Day,
24   which falls on Monday, January 17, 2022 and is designated a Federal holiday. Federal
25   offices, including the USAO, are closed on Monday, January 17, 2022. It is difficult to
26   reach representatives of client agencies on a Friday afternoon and that difficulty is
27   compounded by the holiday weekend.
28         7.     Attached hereto as Exhibit 1 is a true and correct copy of the complaint
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 1   filed on September 3, 2021, in United States of America v. $165,620.00 in United States
 2   Currency, 6:2021-cv-01215 HLT (D. Kansas).
 3         8.    Attached hereto as Exhibit 2 is a true and correct copy of the Warrant of
 4   Arrest In Rem and Order for Notice also filed in United States of America v.
 5   $165,620.00 in United States Currency, 6:2021-cv-01215 HLT (D. Kansas).
 6         I declare under penalty of perjury that the foregoing is true and correct.
 7         Executed on January 15, 2022, at Los Angeles, California.
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 9                                                      /s/ Joanne Osinoff
                                                      JOANNE OSINOFF
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